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1           LAW OFFICES OF
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2     A PROFESSIONAL CORPORATION
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3      SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
4

5    ATTORNEYS FOR:           Defendant
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7

8                                    IN THE UNITED STATES DISTRICT COURT

9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA                        No.   2:10 Cr.-305-LKK
11

12                                     Plaintiff,     ORDER FOR CONTINUANCE OF
                                                      INITIAL STATUS CONFERENCE
13         v.

14    SIAVASH POURSARTIP, et. al

15                                   Defendants,

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18          The Court, having received, read and considered this stipulation of the parties, and

19   good cause appearing therein, adopts the stipulation of the parties in its entirety as its

20   order. Based upon the stipulation of the parties, the Court finds it is unreasonable to expect

21   adequate preparation for pretrial proceedings and the trial itself within the time limits

22   established in 18 U.S.C. § 3161 and that the case is unusual and complex within the

23   meaning of the Speedy Trial Act. Further, the Court specifically finds that the ends of

24   justice served by the granting of this continuance outweigh the interests of the public.

25   Finally, the Court finds that the requested continuance is necessary to provide both the

26   prosecution and the defense counsel reasonable time necessary for effective preparation,

27   taking into account the exercise of due diligence.

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                               IT IS ORDERED that the time from the date of the parties’ stipulation to and
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                  including April 19, 2011, shall be excluded from computation of time within which the trial of
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                  this case must be commenced under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A) and
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                  (B)(ii) and (iv) and Local Codes T2 [unusual and complex case] and T4 [continuity of
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                  counsel and defense preparation].
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                               IT IS FURTHER ORDERED that the initial status conference in the above-
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                  entitled matter now set for February 23, 2011 shall be continued to April 19, 2011 at 9:15
              8
                  am.
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                         Dated: February 22, 2011
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LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
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